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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

PROLITEC INC.,
C.A. No. 20-984-WCB

Plaintiff,
V.

SCENTAIR TECHNOLOGIES, LLC,

Defendant.

VERDICT FORM

Instructions: When answering the following questions and filling out this Verdict Form, please
follow the directions provided throughout the form. Your answer to each question must be

unanimous. Please refer to the Jury Instructions for guidance on the law applicable to the subject
matter covered by each question.
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We, the jury, unanimously agree to the answers to the following questions and return them under
the instructions of this Court as our verdict in this case.

QUESTION 1: Direct Infringement

Did Prolitec prove by a preponderance of the evidence that ScentAir has directly infringed, under
the doctrine of equivalents, the identified claim of the Asserted Patents?

Please check “Yes” or “No” for each claim. “Yes” is in favor of Prolitec, i.e., that ScentAir
infringes the claim, and “No” is in favor of ScentAir, i.e., that ScentAir does not infringe the
claim.

004 Patent
Claim 17: Yes: (for Prolitec) No: _X__(for ScentAir)
Claim 23: Yes (for Prolitec) No: _X__(for ScentAir)
°976 Patent
Claim 15: Yes: (for Prolitec) No: x _ (for ScentAir)
Claim 16: Yes: (for Prolitec) No: X__(for ScentAir)
Claim 17: Yes: (for Prolitec) No: __X__(for ScentAir)
Claim 22: Yes: (for Prolitec) No: _X___(for ScentAir)

If you answered “yes” to any of the above questions, please indicate whether your findings were based
on one or more of making, using, or selling the infringing devices.

Making
Using

Selling

Please proceed to Question 2.
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QUESTION 2: Induced Infringement

Did Prolitec prove by a preponderance of the evidence that ScentAir has actively induced its
customers to directly infringe the identified claim of the Asserted Patents?

Please check “Yes” or “No” for each claim. “Yes” is in favor of Prolitec and “No” is in favor
of ScentAir.

004 Patent
Claim 17: Yes: (for Prolitec) No: _X (for ScentAir)

Claim 23: Yes: (for Prolitec) No: _X (for ScentAir)

976 Patent
Claim 15: Yes: (for Prolitec) No: xX _ (for ScentAir)

Claim 16: Yes: (for Prolitec) No: xX _ (for ScentAir)

Claim 17: Yes: (for Prolitec) No: _X___(for ScentAir)

Claim 22: Yes: (for Prolitec) No: _X___(for ScentAir)

Please proceed to Question 3.
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QUESTION 3: Contributory Infringement

Did Prolitec prove by a preponderance of the evidence that ScentAir has contributed to the direct
infringement of the identified claim of the Asserted Patents by its customers?

Please check “Yes” or “No” for each claim. “Yes” is in favor of Prolitec and “No” is in favor
of ScentAir.

004 Patent
Claim 17: Yes: (for Prolitec) No: _X_(for ScentAir)

Claim 23: Yes: (for Prolitec) No: _y (for ScentAir)

976 Patent
Claim 15: Yes: (for Prolitec) No: _X__(for ScentAir)

Claim 16: ‘Yes: (for Prolitec) No: _X__(for ScentAir)
Claim 17: Yes: (for Prolitec) No: _xX (for ScentAir)

Claim 22: Yess (for Prolitec) No: x (for ScentAir)

Please proceed to Question 4.
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QUESTION 4: Infringement by Supplying All
or a Substantial Portion of the Components of a
Patent Invention to Another Country

Did Prolitec prove by a preponderance of the evidence that ScentAir infringed the identified claim
of the Asserted Patents by supplying all or a substantial portion of the components of a patented
invention to another country?

Please check “Yes” or “No” for each claim. “Yes” is in favor of Prolitec and “No” is in favor
of ScentAir.

°004 Patent
Claim 17: ‘Yes: (for Prolitec) No: _* (for ScentAir)

Claim 23: Yes: (for Prolitec) No: _X (for ScentAir)

°976 Patent
Claim 15: Yes: (for Prolitec) No: _X __ (for ScentAir)

Claim 16: Yes: (for Prolitec) No: &%__ (for ScentAir)
Claim 17: Yes: (for Prolitec) No: _*% (for ScentAir)

Claim 22: Yes: (for Prolitec) No: _X___(for ScentAir)

Please proceed to Question 5.
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QUESTION 5: Infringement by Supplying
Components Especially Made or Adapted for Use
in the Patented Invention to Another Country

Did Prolitec prove by a preponderance of the evidence that ScentAir infringed the identified claim
of the Asserted Patents by supplying components especially made or adapted for use in the
patented invention to another country?

Please check “Yes” or “No” for each claim. “Yes” is in favor of Prolitec and “No” is in favor
of ScentAir.

°004 Patent
Claim 17: Yes: (for Prolitec) No: _X__(for ScentAir)
Claim 23: Yes: (for Prolitec) No: _X_(for ScentAir)

°976 Patent
Claim 15: Yes: _ (for Prolitec) No: _X__(for ScentAir)
Claim 16: Yes: (for Prolitec) No: _X__(for ScentAir)

Claim 17: Yes: (for Prolitec) No: _X_(for ScentAir)

Claim 22: Yes: (for Prolitec) No: _X__(for ScentAir)

Please proceed to Question 6.
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OUESTION 6: Invalidity

Did ScentAir prove by a clear and convincing evidence that the identified claim of the Asserted
Patents is invalid?

Please check “Yes” or “No” for each claim. “Yes” is in favor of ScentAir, i.e., that the claim
is invalid, and “No” is in favor of Prolitec, i.e., that the claim is valid.

°004 Patent

Claim 17: Yes:___(for ScentAir) No: _X__(for Prolitec)
Claim 23: Yes:__ (for ScentAir) No: _X__(for Prolitec)
976 Patent =| Claim 15: Yes:__(for ScentAir) | No: _\_ (for Prolitec)
Claim 16: Yes: _(for ScentAir) No: _ x __ (for Prolitec)
Claim 17: Yes: ___—(for ScentAir) No: _X__(for Prolitec)

Claim 22: Yes: (for ScentAir) No: __X__(for Prolitec)

If you checked “Yes” for any claims in Questions 1-5 and checked “No” for any of those same
claims in Question 6, i.e., you determined that ScentAir infringed at least one valid claim,
proceed to Question 7.

Otherwise, skip and DO NOT answer Question 7, and instead please proceed directly to the
Final Page of the Jury Verdict and sign and date that page.
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QUESTION 7: Damages

What sum of money has Prolitec established by a preponderance of the evidence would fairly and
reasonably compensate Prolitec for ScentAir’s infringement of the valid, asserted claims of
Prolitec’s Asserted Patents?

Would your award of damages be the same if it were based only on the ’004 patent?

Yes: No:

If your answer for question 8 was no, what portion of your damages award is attributable to each
patent?

The °004 patent: The *976 patent:

Please proceed to the Final Page of the Jury Verdict and sign and date that page.

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Final Page of the Jury Verdict

You have now reached the end of the verdict form and should review it to ensure it accurately
reflects your unanimous determinations. The foreperson should then sign and date the verdict form
in the spaces below and notify the Court Security Officer that you have reached a verdict.

The foreperson should retain possession of the verdict form and bring it when the jury is brought
back into the courtroom.

Signature Date

